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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 TOYOTA LEASE TRUST,

                                    Plaintiff,                     REPORT AND
         -against-                                                 RECOMMENDATION

 VILLAGE OF FREEPORT, ALL COUNTY                                   20-CV-2207 (DG) (SIL)
 HOOK UP TOWING, INC. d/b/a ALL
 COUNTY TOWING & RECOVERY AND
 JOSEPH CALVAGNO,

                                     Defendants.
 --------------------------------------------------------------x

STEVEN I. LOCKE, United States Magistrate Judge:

        Presently before the Court in this civil rights action, on referral from the

Honorable Diane Gujarati for report and recommendation are: (i) Plaintiff Toyota

Lease Trust’s (“Plaintiff” or “Toyota”) motion for partial summary judgment as to (a)

its first cause of action against Defendant Village of Freeport (“Defendant” or

“Freeport” or the “Village”) for deprivation of property by unreasonable seizure and

without due process of law in violation of the Fourth and Fourteenth Amendments of

the United States Constitution, and (b) as to its third cause of action seeking a

declaratory judgment that the Village’s policy of conducting warrantless seizures of

“Scofflaw” vehicles is unconstitutional; and (ii) Freeport’s cross-motion for summary

judgment as to all of Plaintiff’s claims. See Motion for Summary Judgment by Toyota

Lease Trust (“Plaintiff’s Motion” or “Pl. Mot.”), Docket Entry (“DE”) [58]; Response in

Opposition and Cross-Motion for Summary Judgment by Village of Freeport

(“Defendant’s Motion” or “Def. Mot.”), DE [59].



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      By way of Complaint dated May 15, 2020, Toyota commenced this action

against Freeport, All County Hook Up Towing, Inc. d/b/a All County Towing &

Recovery (“All County”) and Joseph Calvagno (“Calvagno”) pursuant to 42 U.S.C.

Section 1983 (“Section 1983”) for: (i) deprivation of property by unreasonable seizure

and without due process of law in violation of the Fourth and Fourteenth

Amendments; (ii) deprivation of property by unreasonable seizure and without due

process in violation of New York Constitution Article I Sections 6 and 12; (iii)

declaratory relief against all Defendants that New York State Vehicle and Traffic

Law (“NYVTL”) § 1224 as applied by Freeport through its “Scofflaw” policy is

unconstitutional under the United States and New York State Constitutions and that

Defendants are liable under Section 1983 for all damages and attorneys’ fees

incurred; (iv) replevin; and (v) violation of New York State General Obligations Law

§ 349 against All County and Calvagno. See Complaint (“Compl.”), DE [1]. The claims

against All County and Calvagno were dismissed by stipulation, which was so ordered

by Judge Gujarati on June 13, 2022. See DE [55], June 13, 2022 Electronic Order.

On July 8, 2022, the parties filed their motions for summary judgment.              See

Memorandum of Law in Support of Plaintiff’s Motion for Summary Judgment (“Pl.

Mem.”), DE [58-1]; Memorandum of Law in Opposition to Plaintiff’s Motion for

Summary Judgment and in Support the Cross-Motion of Defendant Freeport (“Def.

Mem.”), DE [59-1]. Judge Gujarati referred the motions to this Court on October 28,

2022. See October 28, 2022 Electronic Order. For the reasons set forth below, the

Court respectfully recommends: (i) granting Plaintiff’s Motion as to its first and third



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causes of action and declaratory relief, but denying it as to compensatory damages;

(ii) denying Defendant’s Motion in its entirety; (iii) entering Toyota’s proposed

declaratory judgment; (iv) ordering Freeport to submit proposed legislation within 60

days; and (v) permitting Plaintiff to request an inquest on damages within 60 days.

   I.      BACKGROUND

           A. Relevant Facts

        The following facts are taken from the parties’ pleadings, declarations, exhibits

and respective Local Rule 56.1 statements. See Rule 56.1 Statement of Material Facts

by Toyota (“Pl. 56.1”), DE [58-2]; Defendant Freeport’s Response to Toyota’s Rule 56.1

Statement and Counter Statement of Material Facts (“Def. 56.1” and “Def. Counter

56.1”), DE [59-2]; Toyota’s Response to Freeport’s Counter Statement of Material

Facts (“Pl. Counter 56.1”), DE [60-1]. Unless otherwise noted, these facts are not in

dispute.

              1. The Parties and the Lease

        Plaintiff is a Delaware business trust and holds titles to leased vehicles in the

United States. Pl. Counter 56.1 ¶ 2. Toyota Motor Credit Corporation (“TMCC”) is a

California corporation wholly owned by Toyota Financial Services International

Corporation (“TFSIC”) and is Plaintiff’s parent company which services its lease

contracts. Id. ¶ 1. Freeport is a duly organized municipal corporation under New

York state law. Id. ¶ 5. All County is a towing company that has a contractual

agreement with Freeport for towing and impounding services. Def. 56.1 ¶¶ 39-40.

Calvagno is the owner of All County. Compl. ¶ 15.



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      On or about October 6, 2018, Millennium Super Store, LLC d/b/a Millennium

Toyota Scion (the “Dealership”) leased a 2018 Toyota Camry bearing VIN

4T1B11HK2JU149713 (the “Vehicle”) to non-party customers Dorothy Kinsey and

Sandra D. Kinsey (the “Lessees”). Def. 56.1 ¶¶ 1-2. The lease (“Lease Agreement”)

provided for monthly payments of $369.00 beginning on October 6, 2018, and the

Dealership assigned the agreement to Plaintiff. Id. ¶¶ 2-3. It further provided that

a default included a failure to make a payment or a seizure of the Vehicle, which

triggered a right to possession by Toyota among other remedies. Declaration of Adam

Davis (“Davis Decl.”), DE [58-19], Ex. A; Declaration of Helen Benzie Esq. (“Benzie

Decl.”), DE [59-9], Exhibit (“Ex.”) E (“Lease Agreement”) ¶ 29. On or about November

5, 2018, the New York State Department of Motor Vehicles (“NYSDMV” or “DMV”)

issued a title with Toyota Lease Trust as the owner of the Vehicle. Def. 56.1 ¶ 4;

Davis Decl. Ex. B. At all relevant times, Plaintiff remained the titled owner and

lessor of the Vehicle. Def. 56.1 ¶ 5.

      Dorothy and Sandra Kinsey defaulted on the Vehicle’s payments beginning in

on December 6, 2019, although Freeport claims that the lease was “in arrears from

the date the second payment was due” as shown by late charges on the account. Id.

¶ 7; Pl. Counter ¶ 24; see also Benzie Decl. Ex. F. As of February 5, 2020, the Vehicle

had an odometer reading of 26,269 miles. Pl. Counter ¶ 16.

             2. Freeport’s Seizure of the Vehicle and Its Relevant Policies, Customs
                and Practices

      On February 5, 2020, All County towed the Vehicle at Freeport’s direction.

Def. 56.1 ¶¶ 9-10. The Village sought to impound the Vehicle under its “Scofflaw”

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policy because Sandra Kinsey had over $1,000 in unpaid tickets, and the Village

“followed its standard practice for impounding” in relation to the Vehicle. Id. ¶¶ 15-

17. Freeport’s Scofflaw policy includes: (i) keeping an updated “list of all Scofflaws”

which are individuals owing more than $1,000.00 in outstanding tickets associated

with the vehicle; (ii) locating such a vehicle through a license plate reader (“LPR”)

system; and (iii) impounding the vehicle, located via a “hit” by the LPR system on a

public road. Id. ¶ 16, 29; Declaration of Nicholas A. Duston, Esq. (“Duston Decl.”),

DE [58-3], Ex. E.

      All County towed and kept the Vehicle in its lot pursuant to a contractual

agreement with Freeport. Def. 56.1 ¶ 24; see also Duston Decl. Ex. O; Declaration of

Pamela Walsh Boening (“Boening Decl.”) Ex. A. The contract provides that All

County is to pay Freeport $451 per tow, a qualified employee is available by phone

24 hours per day and seven days per week without exception, all calls for towing

services must be responded to within 30 minutes, and All County will only charge

vehicle owners, not Freeport, for towing and impound services at a rate specified by

the Village pursuant to Village Code § 191, which regulates towing charges. Def. 56.1

¶ 40. In sum, Freeport provides no monetary compensation to All County for towing

and impounding vehicles, and All County charges to car owners $25 per pay for

storage of a “disabled vehicle” and $50 per day for an impounded vehicle. Id. ¶¶ 40-

43. Freeport, however, maintains control of all vehicles impounded and held by All

County, and the Village does not permit the release of an impounded vehicle to

anyone until all tickets associated with that vehicle are paid. Id. ¶¶ 44-45.



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      The Village claims that on the day of impoundment, February 5, 2020, the

Vehicle was given a ticket for failure to display a current registration sticker as

indicated in DMV records. Id. ¶¶ 17-19a, (citing Declaration of Carl Hetzel (“Hetzel

Decl.”), DE [59-3], Ex. A). Toyota disputes this claiming that Freeport’s documents

show that a “DMV Registration Detail” run on the date of impoundment indicated

that the registration status was “valid,” and on All County’s form under “Reason for

Tow,” the “unregistered” box is not checked. Def. 56.1 ¶¶ 17-19a (citing Duston Decl.

¶¶ 4, 12, Exs. C and K). Freeport further claims that the Vehicle lacked a valid

inspection sticker, no insurance code was on file and that it had been deemed

abandoned and was blocking traffic, which Toyota disputes. Def. 56.1 ¶ 19. The

Village does not dispute, however, that the Vehicle was impounded pursuant to its

Scofflaw policy. Def. 56.1 ¶¶ 15-17, 19b-c; Pl. Counter 56.1 ¶¶ 11-12; see also Duston

Decl. Exs. E-J. On March 3, 2020, a Lessee of the Vehicle paid the February 5, 2020

expired registration ticket. Pl. Counter ¶ 13.

      Freeport did not obtain a warrant either before or after impounding the Vehicle

or arrange a hearing concerning its impoundment as with other Scofflaw vehicles.

Def. 56.1 ¶¶ 21-23. Similarly, Toyota failed to request a hearing or send a written

notice of claim to the Village or the New York State Attorney General, of the alleged

unconstitutional Scofflaw policy. Pl. Counter 56.1 ¶¶ 6, 8. Freeport holds hearings

regarding a claimant’s liability as to the ticket(s) associated with a vehicle if

requested by a person claiming the vehicle, Pl. Counter ¶¶ 33-34, but the Village does

not have a procedure for a hearing on Scofflaw seizures, such as raising a challenge



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to: (i) the seizure itself, (ii) the towing and storage charges, or (iii) other conditions

attached to release of the vehicle, as distinct from the ability to challenge liability for

the parking tickets. Id. ¶ 35.

      Toyota initially learned of Freeport’s impounding of the Vehicle from an

unidentified individual calling on the Lessee’s behalf on or about February 14, 2020

who notified Plaintiff that the car was “picked up by the city.” Def. 56.1 ¶ 11. In

addition, All County sent a letter to Toyota dated February 10, 2020 indicating that

the Vehicle had been “taken into custody by this company and has been held in our

impound yard since: 2/5/2020,” that it “claims a lien on this vehicle,” and indicating

that it would be “released to the owner” only “upon full payment of all charges accrued

. . . .” Id. ¶ 12. The parties do not indicate when Toyota received this letter. The

charge total, separate from the parking or other tickets associated with the Vehicle,

was for $581.14 as of the date of the letter, increasing at a rate of $50 per day. See

Duston Decl. Ex. D.

      Plaintiff claims that it sought to repossess the Vehicle in or before February

2020 around the time that Freeport impounded the Vehicle. Def. 56.1 ¶ 8. Defendant

counters that while Toyota’s documents indicate it was seeking to repossess the

Vehicle in response to a request on behalf of one of the Lessees, and Toyota had no

contact with the Lessees until the February 14, 2020 phone call, which was after the

Vehicle was impounded. Id. Freeport further claims that it is Toyota’s policy to not

begin repossession until after an account is 80 days past due, which Plaintiff disputes,




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although late payments on the Vehicle began in November 2018, which is more than

one year prior to impoundment. Pl. Counter ¶ 25; see Benzie Decl. Exs. G-H.

      Toyota later received correspondence from the Village regarding the Vehicle

dated March 25, 2020, which was 49 days after its impoundment. Def. 56.1 ¶¶ 13-14.

The one-page letter stated:

      You are hereby notified that the above-described motor vehicle, for
      which you are listed as the last registered owner, has been impounded
      by this Department.

      You are therefore being notified to reclaim the said vehicle forthwith. As
      pursuant to Section 1224 of the Vehicle and Traffic Law of the State of
      New York, you are liable for the costs of removal and storage of said
      vehicle.

      YOUR FAILURE TO CLAIM THIS VEHICLE WILL NOT ABSOLVE
      YOU OF YOUR LIABILITY TO PAY THE REMOVAL AND STORAGE
      CHARGES FOR THIS VEHICLE.

      The Village of Freeport shall acquire title to this vehicle unless claimed
      within ten (10) days of the above date. In such event the vehicle will be
      destroyed.

      This is your final notice, you will receive no further communications
      regarding this matter.

Id. ¶ 26; see also Duston Decl. Ex. M. Freeport refused to permit Toyota to retrieve

the Vehicle unless Plaintiff agreed to pay various outstanding fines, penalties, towage

and storage charges. Def. 56.1 ¶ 27.

      On April 28, 2020, Toyota’s counsel emailed Officer Giovanniello at the

Freeport Police Department requesting the “impounded vehicle release procedure”

and reason for the Vehicle’s impoundment. Id. ¶ 36; see Duston Decl. Ex. N; Hetzel

Decl. Ex. A. The parties dispute the Village’s regular practice as to notice for this



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particular procedure, but in any event, they do not dispute that Freeport’s written

procedure, which Toyota received via email, for the handling of seized vehicles states:

      IMPOUNDED VEHICLE RELEASE PROCEDURE

      1. Respond to the Freeport Municipal Building... Pay a $117.00 Impound
      Release Fee (Cash Only) at the front counter.

      5. You will be given an impound release form.... You will then be directed
      to the private impound facility that has custody of your vehicle. You are
      responsible for any and all charges incurred at this facility.

Def. 56.1 ¶ 36; Duston Decl. Ex. N; Hetzel Decl. Ex. A. Accordingly, Freeport requires

a payment of a $117 Impound Release Fee, payment of the past due tickets that led

to the seizure, and any fees that may be owed for towing and storing the impounded

vehicle to Freeport’s impound facility, All County, pursuant to the towing contact

before releasing a vehicle. Def. 56.1 ¶¶ 37-39.

      The Village claims that Toyota issued a payment guaranty to retrieve the

Vehicle on February 28, 2020, which Plaintiff disputes claiming the agreement was

between Toyota’s parent company, TMCC, and All County. Pl. Counter ¶ 17. Plaintiff

further claims that its parent company agreed to hold harmless and indemnify All

County for any suits relating to All County’s act of releasing the Vehicle to Toyota.

Id. All County, however, did not release the Vehicle until after the filing of this

lawsuit, breaching the agreement’s terms. Id.

      Finally, counsel for Toyota, Freeport and All County agreed, after this action

had been filed, for Plaintiff to recover possession of the Vehicle pendente lite. This

agreement was reached on October 22, 2020, and Toyota recovered the Vehicle on or

about November 11, 2020. Def. 56.1 ¶ 28. Freeport claims it “released” the Vehicle

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 to All County on October 7, 2020, which Toyota disputes as All County had possession

 of the Vehicle at all times and no evidence supports this assertion. Pl. Counter ¶ 15.

 The parties agree that All County told Toyota to retrieve the Vehicle on October 22,

 2020, and Toyota picked it up on November 11, 2020. Id.

              3. Toyota’s Claimed Damages

       The J.D. Power Used Car Guide (the “Guide”) is a vehicle pricing service that

 is recognized as an authoritative standard in the industry, and is an accurate

 indicator of used vehicle pricing, providing prices based upon comparable vehicle

 sales. Def. 56.1 ¶ 48. The pricing calculations are based on hundreds of thousands

 of motor vehicle sale transactions, and provide precise pricing based on a sufficiently

 large volume of data so as to remove the need for statistical interpretation, allowing

 pricing calculations free from opinion or bias. Id. The Guide lists various auction

 values which Toyota likely would have obtained had the Vehicle been returned to

 Plaintiff’s possession on the date of Freeport’s letter to Toyota, March 25, 2020, and

 when Plaintiff was informed by All County that it could retrieve the Vehicle, October

 22, 2020. Id. ¶ 49. Using the average auction value, Toyota claims that Guide shows

 the value of the Vehicle at $16,254 as of March 25, 2020 and $15,236 as of October

 22, 2020. Id.; see also Davis Decl. Ex. E. Freeport claims the Guide shows the value

 was $16,746 as of March 25, 2020, $17,358 as of October 7, 2020, and $16,534 as of

 October 22, 2020. Def. 56.1 ¶ 49. As a result, the parties dispute the reasonable

 estimate of the depreciation of the value of the Vehicle while it was in Freeport’s

 custody. Toyota claims it is $1,018. Id. ¶ 52. Defendant claims it was $775 and



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 disputes the period Plaintiff uses for this calculation, claiming it should be from

 March 25, 2020 to October 7, 2020 when it “released” the Vehicle to All County and,

 therefore, was a gain of $612. Id. ¶¶ 51-54; Benzie Decl. Exs. O-S.

       Toyota further claims that had it been able to auction the Vehicle, which is its

 practice as to repossessed vehicles, and re-invest in a performing lease with a similar

 payment stream of $369 per month when the car was eventually recovered seven

 months later, its “loss of use” damages is $2,583. Def. 56.1 ¶ 54; Pl. Counter ¶ 26.

 Finally, the parties do not dispute that Freeport received $451 from All County’s

 towing and storage fees. Def. 56.1 ¶ 50. The Vehicle has since been sold for $14,800

 and is now registered out of state. Pl. Counter ¶ 20.

           B. Procedural History

       Based on the above, Toyota commenced this action by way of Complaint dated

 May 15, 2020 against Freeport, All County and Calvagno for: (i) deprivation of

 property by unreasonable seizure and without due process of law in violation of the

 Fourth and Fourteenth Amendments; (ii) deprivation of property by unreasonable

 seizure and without due process of law in violation of New York Constitution Article

 I Sections 6 and 12; (iii) declaratory relief against all Defendants that New York State

 Vehicle and Traffic Law §1224 is unconstitutional, as applied pursuant to Freeport’s

 Scofflaw policy, under the United States and New York State Constitutions and that

 Defendants are liable under Section 1983 for all damages and attorneys’ fees

 incurred; (iv) replevin; and (v) violation of New York State General Obligations Law

 § 349 against All County and Calvagno. See Compl. All County and Calvagno



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 answered on July 17, 2020, and Freeport answered on July 23, 2020. See DEs [17],

 [18]. Discovery commenced, which this Court oversaw, and closed on December 1,

 2021. See DE [37]. The claims against All County and Calvagno were dismissed by

 stipulation which was so ordered by Judge Gujarati on June 13, 2022. See DE [55];

 June 13, 2022 Electronic Order.

          On July 8, 2022, the parties filed their motions for summary judgment. See Pl.

 Mot.; Def. Mot.; Reply in Further Support of Plaintiff’s Motion for Summary

 Judgment (“Pl. Reply”), DE [60]; Reply Memorandum of Law in Support of Defendant

 Freeport’s Cross Motion (“Def. Reply”), DE [61]. Toyota seeks declaratory relief and

 compensatory damages as to counts one and three. See Pl. Mem. Freeport seeks

 summary judgment as to all of Plaintiff’s claims. See Def. Mem. Judge Gujarati

 referred the motions to this Court on October 28, 2022.         See October 28, 2022

 Electronic Order.       For the reasons set forth below, the Court respectfully

 recommends: (i) granting Plaintiff’s Motion as to its first and third causes of action

 and declaratory relief, but denying it as to compensatory damages; (ii) denying

 Defendant’s Motion in its entirety; (iii) entering Toyota’s proposed declaratory

 judgment; (iv) ordering Freeport to submit proposed legislation within 60 days; and

 (v) permitting Plaintiff to request an inquest on damages within 60 days.

    II.      LEGAL STANDARD

          Pursuant to Fed. R. Civ. P. 56, a “court shall grant summary judgment if the

 movant shows that there is no genuine dispute as to any material fact and the movant

 is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The movant bears



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 the burden of establishing that there are no issues of material fact such

 that summary judgment is appropriate. See Huminski v. Corsones, 396 F.3d 53, 69

 (2d Cir. 2004). In deciding a motion for summary judgment, the Court “is not to weigh

 the evidence but is instead required to view the evidence in the light most favorable

 to the party opposing summary judgment, to draw all reasonable inferences in favor

 of that party, and to eschew credibility assessments.” Amnesty Am. v. Village of West

 Hartford, 361 F.3d 113, 122 (2d Cir. 2004); see also Anderson v. Liberty Lobby, Inc.,

 477 U.S. 242, 248, 106 S. Ct. 2505, 2510 (1986) (holding that a motion

 for summary judgment should be denied if “the evidence is such that a reasonable

 jury could return a verdict for the nonmoving party”).

       Once the movant has met its initial burden, the party opposing summary

 judgment “must do more than simply show that there is some metaphysical doubt as

 to the material facts. . . . [T]he nonmoving party must come forward with specific facts

 showing that there is a genuine issue for trial.” Matsushita Elec. Indus. Co. v. Zenith

 Radio Corp., 475 U.S. 574, 586-87, 106 S. Ct. 1348, 1356 (1986) (internal quotation

 omitted); see also Maxton v. Underwriter Labs., Inc., 4 F. Supp. 3d 534, 542 (E.D.N.Y.

 2014) (“An issue of fact is considered ‘genuine’ when a reasonable finder of fact could

 render a verdict in favor of the non-moving party”).

       In determining whether summary judgment is warranted, “the court’s

 responsibility is not to resolve disputed issues of fact but to assess whether there are

 any factual issues to be tried, while resolving ambiguities and drawing reasonable

 inferences against the moving party.” Knight v. U.S. Fire Ins. Co., 804 F.2d 9, 11 (2d



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 Cir. 1986); see also Artis v. Valls, No. 9:10-cv-427, 2012 WL 4380921, at *6, n. 10

 (N.D.N.Y. Sep. 25, 2012) (“It is well established that issues of credibility are almost

 never to be resolved by a court on a motion for summary judgment”).

    III.   DISCUSSION

           A. Plaintiff’s Standing

        Initially, Defendant seeks summary judgment as to all of Plaintiff’s claims on

 standing grounds arguing that Toyota lacked a present possessory interest in the

 Vehicle and thereby lacked a constitutionally protectible right. See Def. Mem. at 12-

 15. Plaintiff counters that non-possessory interests are protected by the Constitution,

 and, in any event, Toyota’s interests in the Vehicle were possessory. See Pl. Reply at

 3-6.

        To establish standing, a party “must have suffered an injury in fact—an

 invasion of a legally protected interest which is (a) concrete and particularized, and

 (b) actual or imminent, not conjectural or hypothetical.”        Backus v. Village of

 Charlotte, 75 F. App’x 820, 821 (2d Cir. 2003); see also Lujan v. Defenders of Wildlife,

 504 U.S. 555, 560, 112 S. Ct. 2130, 2136 (1992). The Constitution protects an owner’s

 rights to property, such as a vehicle, that has been leased, including the right of sale

 and the right to receive rent. See U.S. v. James Daniel Good Real Prop., 510 U.S. 43,

 54, 114 S. Ct. 492, 501 (1993); HVT, Inc. v. Port Auth. of New York and New Jersey,

 2018 WL 3134414, at *7 (E.D.N.Y. Feb. 15, 2018), R&R adopted, 2018 WL 1409821

 (E.D.N.Y. Mar. 21, 2018) (A leasing company that owns a vehicle “has a protected

 possessory interest in the Subject Vehicle.”) (citing Alexandre v. Cortes, 140 F.3d 406,



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 411 (2d Cir. 1998); Harrell v. City of New York, 138 F. Supp. 3d 479, 493 (S.D.N.Y.

 2015)).

       Property interests “‘are created and their dimensions are defined by existing

 rules or understandings that stem from an independent source such as state law—

 rules or understandings that secure certain benefits and that support claims of

 entitlement to those benefits.’” Santander Consumer USA, Inc. v. County of Suffolk,

 No. 20-CV-2656(JS)(AKT), 2021 WL 4480574, at *6 (E.D.N.Y. Sep. 30, 2021) (quoting

 Ford Motor Credit Co. v. New York City Police Dep’t, 394 F. Supp. 2d 600, 609

 (S.D.N.Y. 2005)). Under the New York Vehicle and Traffic Law § 2101(g), which

 concerns leased vehicles, the title holder, not the lessee, is considered to be the

 vehicle’s owner. NYVTL § 2101(g).

       Applying these standards, the Court concludes that Toyota has a legally

 protected property interest and, therefore, has standing to pursue its claims against

 Freeport.   Initially, Plaintiff has sufficiently established, and the parties do not

 dispute, that it had title over the Vehicle at all relevant times. Def. 56.1 ¶¶ 4-5; see

 also Def. Mem. at 12. While the Vehicle was leased to non-parties, that does not

 extinguish Toyota’s legally protected right in its property, and these rights include a

 possessory right to the Vehicle, right of sale and right to receive rent. This is further

 established by the Lessee’s default on payments beginning on December 6, 2019 and

 by Freeport’s impoundment, which was also considered a default under the Lease

 Agreement, and triggers Plaintiff’s right to possession. Def. 56.1 ¶¶ 7-8; see also Lease

 Agreement ¶ 29. While Freeport contends that Toyota’s parent company has a



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 discretionary policy of not repossessing a vehicle until approximately 80 days after

 default, as evidenced by its SEC Form 10-K, 1 this does not extinguish Toyota’s

 possessory interest in the Vehicle. See Benzie Decl. Ex. G. Further, the parties do

 not dispute that Freeport seized the Vehicle and retained possession of it for seven

 months making the injury concrete and actual. Accordingly, the Court concludes that

 Toyota has standing to pursue its claims.

            B. Plaintiff’s Section 1983 Claims

        Next, Toyota and Freeport cross-move for summary judgment on the Section

 1983 claims alleging deprivation of property by unreasonable seizure in violation of

 the Fourth Amendment and without due process in violation of the Fourteenth

 Amendment.

        42 U.S.C. § 1983 provides, in relevant part:

        Every person who, under color of any statute, ordinance, regulation,
        custom, or usage, of any State . . . subjects, or causes to be subjected,
        any citizen of the United States . . . to the deprivation of any rights,
        privileges, or immunities secured by the Constitution and laws, shall be
        liable to the party injured . . . .

 42 U.S.C. § 1983. Although Section 1983 itself does not create substantive rights, it

 does provide “a procedure for redress for the deprivation of rights established

 elsewhere.” Sykes v. James, 13 F.3d 515, 519 (2d Cir. 1993). To prevail on a claim

 arising under Section 1983, a plaintiff must demonstrate: “(1) the deprivation of any

 rights, privileges, or immunities secured by the Constitution and its laws; (2) by a


 1 Plaintiff argues that this information was not exchanged during discovery, and should not be
 considered in deciding the parties’ motions. See Pl. Reply at 7. The Court acknowledges this issue,
 but notes that these documents do not have any bearing on the Court’s conclusions in its Report and
 Recommendation.

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 person acting under the color of state law.” Hawkins v. Nassau Cnty. Corr. Facility,

 781 F. Supp. 2d 107, 111 (E.D.N.Y. 2011) (citing 42 U.S.C. § 1983); see also Dubin v.

 County of Nassau, 277 F. Supp. 3d 366, 384 (E.D.N.Y. 2017) (quoting Cornejo v. Bell,

 592 F.3d 121, 127 (2d Cir. 2010)).

       Under Monell v. Dept. of Soc. Serv. of City of New York, municipalities and

 local government entities may be held liable under Section 1983 “where . . . the action

 that is alleged to be unconstitutional implements or executes a policy statement,

 ordinance, regulation, or decision officially adopted and promulgated by that body’s

 officers.” 436 U.S. 658, 590, 98 S. Ct. 2018, 2019-20 (1978). The “policy or custom”

 element may be established by demonstrating: (1) “a formal policy officially endorsed

 by the municipality”; (2) “actions taken by government officials responsible for

 establishing the municipal policies that caused the particular deprivation in

 question”; (3) “a practice so consistent and widespread that, although not expressly

 authorized, constitutes a custom or usage of which a supervising policy-maker must

 have been aware”; or (4) “a failure by policymakers to provide adequate training or

 supervision to subordinates to such an extent that it amounts to deliberate

 indifference to the rights of those who come into contact with the municipal

 employees.” Kucharczyk v. Westchester Cnty., 95 F. Supp. 3d 529, 538-39 (S.D.N.Y.

 2015) (citing Brandon v. City of New York, 705 F. Supp. 2d 261, 276-77 (S.D.N.Y.

 2010)); see also Jones v. Westchester Cnty. Dep’t of Corr. Med. Dep’t, 557 F. Supp. 2d

 408, 419 (S.D.N.Y. 2008).




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       Moreover, the “plaintiff must demonstrate that, through its deliberate conduct,

 the municipality was the ‘moving force’ behind the alleged injury.” Roe v. City of

 Waterbury, 542 F.3d 31, 37 (2d Cir. 2008) (citation omitted); see also Batista v.

 Rodriguez, 702 F.2d 393, 397 (2d Cir. 1983) (“Absent a showing of a causal link

 between an official policy or custom and the plaintiffs’ injury, Monell prohibits a

 finding of liability against the City.”); Wiltshire v. Williams, No. 10-cv-6947, 2012 WL

 899383, at *10 (S.D.N.Y. Mar. 16, 2012) (noting that after demonstrating the

 existence of a municipal policy or custom, “a plaintiff must establish a causal

 connection – an affirmative link – between the policy and the deprivation of his

 constitutional rights”) (internal quotation omitted).

              1. Plaintiff’s Fourth Amendment Claim

       As for its Fourth Amendment claim, Toyota argues that the warrantless

 seizure of its and other Scofflaw vehicles because of fees and fines does not fall within

 a recognized exception to the Fourth Amendment’s warrant requirement, and

 Freeport’s continued detention beyond any initially legitimate justification also

 violated the Fourth Amendment. See Pl. Mem. at 13-17. Plaintiff further argues that

 Defendant’s constitutional deprivation was pursuant to the Village’s formal Scofflaw

 policy and, therefore, was the moving force behind the deprivation of Toyota’s rights.

 Id. 17-19, 27-29. The Court agrees.

       “A ‘seizure’ of property occurs when there is some meaningful interference with

 an individual’s possessory interests in that property.” United States v. Jacobsen, 466

 U.S. 109, 113, 104 S. Ct. 1652, 1656 (1984); see also Harrell v. City of New York, 138



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 F. Supp. 3d 479 (S.D.N.Y. 2015), on reconsideration in part sub nom. Harrell v. Joshi,

 No. 14-CV-7246 (VEC), 2015 WL 9275683 (S.D.N.Y. Dec. 18, 2015) (“The fact that the

 vehicles are seized in public is of no moment.”). The Fourth Amendment protects

 against any government interference with personal property, even if an officer has

 merely found that property in public. Soldal v. Cook Cty., Ill., 506 U.S. 56, 68, 113

 S.Ct. 538, 547 (1992). As a result, warrantless seizures of personal property are

 unreasonable within the meaning of the Fourth Amendment unless an exception to

 the warrant requirement applies. United States v. Cosme, 796 F.3d 226, 235 (2d Cir.

 2015). These exceptions include, inter alia: (i) whether the property is contraband,

 evidence of a crime, or otherwise subject to forfeiture; or (ii) other exigent

 circumstances, such as a danger to society. See Harrell, 138 F. Supp. 3d at 490-91.

       Moreover, even where the government validly seizes property it nonetheless

 continues to have an “ultimate obligation to return it.” City of W. Covina v. Perkins,

 525 U.S. 234, 240, 119 S. Ct. 678, 681 (1999); see also Manuel v. City of Joliet, Ill.,

 580 U.S. 357, 368, 137 S. Ct. 911, 919 (2017). As a result, “[i]f the government . . .

 cannot establish probable cause for the initial seizure or offer post-seizure evidence

 to justify continued impoundment, retention of the seized property runs afoul of the

 Fourth Amendment.” Krimstock v. Kelly, 306 F.3d 40, 50 (2d Cir. 2002); Santander

 Consumer USA, Inc., 2021 WL 4480574, at *11.

       Applying these standards, the Court concludes that Freeport’s Scofflaw policy

 as applied in this case violated Plaintiff’s Fourth Amendment rights as a matter of

 law. Defendant seized the Vehicle pursuant to its Scofflaw policy and failed to obtain



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 a warrant for the seizure. Further, the Village offers no exception to the warrant

 requirement, and the Court determines that none applies here. While Freeport

 contends that the Vehicle had an expired registration sticker displayed, no insurance

 code was on file, and that it had been deemed abandoned and was blocking traffic, it

 does not dispute that the Vehicle was located and impounded pursuant to its Scofflaw

 policy. Def. Mem. at 6; Def. 56.1 ¶¶ 15-16. Further, the February 5, 2020 ticket for

 an expired registration would not have been issued if the car had not been located

 using the LPR system under the Scofflaw procedures, and an expired registration

 sticker similarly does not lead to an appropriate warrantless seizure. Finally, the

 expired registration ticket was paid on or about March 3, 2020, Pl. Counter ¶ 13,

 meaning Freeport’s continued retention after that date—which is prior to when

 Freeport sent a letter to Toyota on March 25, 2020—did not relate to the Vehicle’s

 registration sticker and/or insurance.   This continued retention, therefore, is a

 separate Fourth Amendment violation. As a result, no material facts are in dispute

 as to Freeport’s warrantless seizure and seven-month retention of the Vehicle

 establishing a constitutional deprivation under the Fourth Amendment. Moreover,

 as the Village admits, the seizure was carried out pursuant to its Scofflaw policy,

 which establishes the second element for the Section 1983 claim. Accordingly, the

 Court concludes that summary judgment in favor of Plaintiff on liability is warranted

 as to its Fourth Amendment cause of action.

              2. Plaintiff’s Fourteenth Amendment Claim




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       Next, Plaintiff argues that Freeport deprived Toyota of due process by failing

 to provide timely notice and a hearing before a neutral decisionmaker to review the

 warrantless seizure. See Pl. Mem. at 19-27. Plaintiff also contends that Freeport was

 required to have such a hearing prior to seizing the vehicle and turning it over to All

 County. Id. 25-27. Plaintiff further argues that this unconstitutional policy was the

 moving force behind the deprivation of Toyota’s rights. Id. at 27-29. Again, the Court

 agrees.

       The due process clause of the Fourteenth Amendment requires that

 individuals “receive notice and opportunity to be heard before the Government

 deprives them of property.” United States v. James Daniel Good Real Prop., 510 U.S.

 43, 48, 114 S. Ct. 492, 498 (1993); Connecticut v. Doehr, 501 U.S. 1, 12, 111 S. Ct.

 2105, 2113 (1991) (“our cases show that even the temporary or partial impairments

 to property rights that attachments, liens, and similar encumbrances entail are

 sufficient to merit due process protection.”). “To determine whether a plaintiff was

 deprived of property without due process of law in violation of the Fourteenth

 Amendment,” courts (1) “identify the property interest involved,” and (2) “determine

 whether the plaintiff received constitutionally adequate process in the course of the

 deprivation.” O’Connor v. Pierson, 426 F.3d 187, 196 (2d Cir. 2005) (citing Harhay v.

 Town of Ellington Bd. of Educ., 323 F.3d 206, 212 (2d Cir. 2003)). In evaluating the

 constitutional adequacy of due process procedures, the Mathews v. Eldridge

 framework applies, and the Court must balance:

       (1) the private interest that will be affected by the official action; (2) the
       risk of an erroneous deprivation of such interest through the procedures

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        used, and the probable value, if any, of additional or substitute
        procedural safeguards; and (3) the Government’s interest, including the
        function involved and the fiscal and administrative burdens that the
        additional or substitute procedural requirement would entail.

 Santander Consumer USA, Inc., 2021 WL 4480574, at *8 (citing Mathews v. Eldridge,

 424 U.S. 319, 335 96 S. Ct. 893, 903 (1976) (other citations omitted)). A titled owner

 who leases a vehicle has a substantial property interest. See HVT, 2018 WL 3134414,

 at *7; Krimstock, 464 F.3d at 255 (noting the “importance of a vehicle to an

 individual’s ability to work and conduct the affairs of life,” and the “serious harm”

 resulting from the “undue retention of a vehicle”).

        The Second Circuit held that a policy that places the burden of taking action

 to recover property on a claimant is a per se due process violation. McClendon v.

 Rosetti, 460 F.2d 111, 115-16 n.4 (2d Cir. 1972) (“It seems to me a shocking thing that

 our police can seize a citizen’s property and then when he seeks to get it back

 challenge him to prove his title to the satisfaction of a jury.”) (citation omitted)); HVT,

 2018 WL 3134414, at *9 (“the question is whether Defendant can summarily deprive

 Plaintiff of its property without any opportunity for a hearing. The law is quite clear

 that it cannot.”). As a result, procedures relating to vehicle seizures should include

 that “notice must be sent to titled owners, registered owners and record lienholders

 of the seized vehicles. . . ; that notice must be sent promptly after the seizure; that

 notice must clearly provide an opportunity for a hearing; and that the government

 must be responsible for arranging and conducting the hearing. . . .” HVT, 2018 WL

 3134414, at *9 (citing Krimstock, 306 F.3d at 68; Ford Motor Credit Co., 394 F. Supp.

 2d at 611; Fuentes v. Shevin, 407 U.S. 67, 92 S. Ct. 1983, 1994 (1972)).             Even

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 temporary delays in providing the notice and hearing may constitutes a deprivation

 of due process rights. Ford Motor Credit Co. v. NYC Police Dep’t, 503 F. 3d 186, 192

 (2d Cir. 2007) (citations omitted).

       Applying these standards, the Court determines that Freeport’s actions

 violated Toyota’s Fourteenth Amendment due process rights, again as a matter of

 law. Freeport seized the Vehicle prior to providing any notice to Toyota. When it did

 provide notice, it was untimely as the letter sent 49 days after impounding the

 vehicle, and it was deficient as it failed to provide an opportunity for a hearing. Def.

 56.1 ¶¶ 13-14, 26; see also Pl. Mem. Ex. M. Even if All County provided notice via

 letter five days after it impounded the Vehicle, it did not provide opportunity for a

 hearing, and as Freeport admits, All County did not have authority to release the

 Vehicle pursuant to its towing agreement with the Village. Def. 56.1 ¶¶ 12, 40-45;

 see Pl. Mem. Ex. D. Applying the Mathews factors, Plaintiff’s property interests in

 the Vehicle outweighs Freeport’s interest in collecting fines, and the undisputed lack

 of hearing requirement under the Scofflaw policy violates due process. As a result,

 Toyota has established a constitutional deprivation by failing to provide timely notice

 and a hearing before a neutral decisionmaker to review the warrantless seizure.

 Furthermore, Toyota has sufficiently established that the Scofflaw policy and the

 Village’s deficient notice caused this constitutional deprivation satisfying the second

 element for this Section 1983 claim. Accordingly, the Court concludes that summary

 judgment in favor of Plaintiff is warranted as to its Fourteenth Amendment due

 process claim.



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             C. Plaintiff’s New York Constitutional Claims

         Separately, Defendant seeks summary judgment as to Plaintiff’s second cause

 of action and argues that because Toyota did not serve a notice of claim on Freeport

 pursuant to NY General Municipal Law § 50-e or on the State Attorney General

 pursuant to 28 U.S.C. §2403(b), its claims under the New York Constitution fail. Def.

 Mem. 15-21. Toyota counters that the “Scofflaw” policy is a matter of public interest

 and, thus, exempt from the notice of claim requirement, and that Plaintiff has

 challenged the constitutionality of Freeport’s municipal Scofflaw policy as applied,

 not a New York statute, so notice under 28 U.S.C. § 2403(b) is not required. Pl. Reply

 at 11-12.

         The New York Civil Practice Law and Rules (“NYCPLR”) Section 9801 provides

 that:

         No action shall be maintained against the village for a personal injury
         or injury to property alleged to have been sustained by reason of the
         negligence or wrongful act of the village or of any officer, agent or
         employee thereof, unless a notice of claim shall have been made and
         served in compliance with section fifty-e of the general municipal law.

 NYCPLR § 9801. NY General Municipal Law Section 50-e provides that in any tort

 case where a notice of claim is required, it shall be served within 90 days after the

 claim arises. See NY Gen. Mun. Law § 50-e. Further, NY General Municipal Law

 Section 50-i provides that:

         No action or special proceeding shall be prosecuted or maintained
         against a city, county, town, village . . . unless, (a) a notice of claim shall
         have been made and served upon the city, county, town, village, fire
         district or school district in compliance with section fifty-e of this article,
         (b) it shall appear by and as an allegation in the complaint or moving
         papers that at least thirty days have elapsed since the service of such

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       notice ... and that adjustment or payment thereof has been neglected or
       refused, and (c) the action or special proceeding shall be commenced
       within one year and ninety days after the happening of the event upon
       which the claim is based. . . .

 NY Gen. Mun. Law § 50-i. As a result, “[i]t is well settled that compliance with the

 notice of claim requirement is a condition precedent to commencement of an action

 against a municipality and the burden is on the plaintiff to plead and prove

 compliance with the notice of claim requirement.” Friel v. County of Nassau, 947 F.

 Supp. 2d 239, 247 (E.D.N.Y. 2013) (citation and alternation omitted); Eberle v. Town

 of Southampton, 985 F. Supp. 2d 344, 347-48 (E.D.N.Y. 2013) (“Under New York law,

 in order to bring state law claims against a municipality, a plaintiff must file a Notice

 of Claim within ninety days after accrual of the claim . . . in compliance with Section

 50-e of the General Municipal Law. This requirement is mandatory in Federal Court

 and failure to comply results in dismissal of claims.”) (citations omitted).

       Nevertheless, “[t]he New York Court of Appeals has recognized an exception

 to the notice of claim requirement when an action is not brought merely to enforce a

 private right, but rather, to vindicate a public interest.” Chodkowski v. County of

 Nassau, No. CV165770SJFGRB, 2017 WL 10637956, at *7 (E.D.N.Y. Nov. 30, 2017)

 (quoting Turner v. County of Suffolk, 955 F. Supp. 175, 176 (E.D.N.Y. 1997)); see Mills

 v. Monroe Cnty., 59 N.Y.2d 307, 312, 464 N.Y.S.2d 709, 711 (1983) (“Because plaintiff

 never applied for leave to file late notice, her ability to maintain this action is

 contingent upon it being characterized as an attempt to vindicate a public interest.”)

 overruled on other grounds by Felder v. Casey, 487 U.S. 131, 134, 138, 108 S. Ct. 2302,

 2307 (1988) (holding that state procedural requirements may not be applied

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 to federal statutes). “While ‘[a]ll actions brought to enforce civil rights can be said to

 be in the public interest,’ the [New York] Court of Appeals has reserved the exception

 to the notice requirement for cases where actions ‘are brought to protect an important

 right, which seek relief for a similarly situated class of the public, and whose

 resolution would directly affect the rights of that class or group.’” Scaggs v. New York

 State Dep’t of Educ., No. 06-CV-799, 2007 WL 1456221, at *20 (E.D.N.Y. May 16,

 2007) (quoting Mills, 464 N.Y.S.2d 709, 451 N.E.2d at 458). A case where a plaintiff

 seeks to enforce a consent decree that would invalidate an allegedly unlawful

 municipal policy satisfies the public interest exception. Germain v. County of Suffolk,

 No. 07-CV-2523ADSARL, 2009 WL 1514513, at *8 (E.D.N.Y. May 29, 2009) (“in

 addition to seeking monetary damages for allegedly discriminatory conduct directed

 at her, the Plaintiff is also seeking to enforce a consent decree that would arguably

 require Suffolk County to offer all pregnant Park Department police officers light-

 duty assignments. In this regard, the Plaintiff's lawsuit seeks to vindicate not only

 the Plaintiff’s civil rights but the interests of other pregnant officers.”); see also

 Kubicek v. Westchester Cnty., No. 08-CV-372KMK, 2009 WL 3720155, at *14

 (S.D.N.Y. Oct. 8, 2009) (finding the public interest exception applicable where in

 addition to damages, the Plaintiff sought to enjoin an allegedly discriminatory

 employment policy) (collecting cases)).

       Finally, as to Defendant’s claim that Plaintiff was required to give notice the

 New York Attorney General pursuant to 28 U.S.C. § 2403(b), that statute provides:

       In any action, suit, or proceeding in a court of the United States to which
       a State or any agency, officer, or employee thereof is not a party, wherein

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       the constitutionality of any statute of that State affecting the public
       interest is drawn in question, the court shall certify such fact to the
       attorney general of the State, and shall permit the State to intervene for
       presentation of evidence, if evidence is otherwise admissible in the case,
       and for argument on the question of constitutionality.

 28 U.S.C. § 2403(b).       “The phrase ‘statute of [the] State’ precisely describes

 enactments of the state legislature . . . —a local ordinance, after all, is not normally

 referred to as a ‘statute,’ nor is it normally viewed as operating at the level of state

 governance.” International Paper Co. v. Inhabitants of Town of Jay, Me., 887 F.2d

 338, 341 (1st Cir. 1989); cf. Raite Rubbish Removal Corp. v. Onondaga Cnty., 161

 F.R.D. 236, 239 (N.D.N.Y. 1995) (Plaintiff clearly seeks to implicate Title 13–B [of the

 New York Public Authorities Law] as an unconstitutional infringement on the

 commerce clause . . . . [S]ince the statute is a state legislative enactment—the State

 has a right to intervene.”).

       Here, the Court initially concludes that while Plaintiff did not file a notice of

 claim with Freeport, the state claims fall within the public interest exception and

 should be allowed to proceed. Toyota is challenging the Village’s Scofflaw policy and

 seeks not only compensatory damages but also declaratory relief as to the

 constitutionality of the policy. This lawsuit, therefore, seeks to vindicate not only the

 Plaintiff’s civil rights but the interests of other “Scofflaws,” and should it succeed, the

 policy would be invalidated. Accordingly, the Court concludes that the public interest

 exception to the notice of claim requirement applies to these claims and recommends

 denying Defendants’ Motion as to this issue.




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       As to Freeport’s argument that notification of the New York Attorney General

 was required under 28 U.S.C. § 2403(b), Toyota has challenged the constitutionality

 of the municipal Scofflaw policy, not a New York statute.          While the Village’s

 correspondence referred to NYVTL § 1224, and it claims to rely on this statute in

 carrying out its Scofflaw program, Toyota does not seek a facial challenge to the

 constitutionality of this particular state statute, but rather Freeport’s application of

 the municipal policy in this and similar instances.        NYVTL § 1224 relates to

 abandoned and unclaimed vehicles, and is unrelated to the Scofflaw policy. Further,

 Freeport fails to cite to any authority indicating that the New York Attorney General

 must be notified 28 U.S.C. § 2403(b) when a constitutional challenge is brought to a

 village’s application of a municipal policy, not state law, and the Court knows of none.

 Compare International Paper Co. v. Inhabitants of Town of Jay, Me., 887 F.2d 338,

 341 (1st Cir. 1989) (constitutional challenge to a municipal ordinance is not

 “questioning the constitutionality of a state statute”) (emphasis in original); with

 Merrill v. Town of Addison, 763 F.2d 80, 82-83 (2d Cir. 1985) (certification to the New

 York Attorney General was required because “[a]lthough Merrill’s suit is against the

 Town of Addison, his claim is that a New York State statute [Section 305 of the New

 York Real Property Tax Law] is unconstitutional.”). Accordingly, the Court concludes

 that notice to the New York Attorney General is not required as no constitutional

 challenge to a state statute has been brought in this case and summary judgment

 should be denied as to this issue.

           D. Plaintiff’s Declaratory Relief Claims



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        Next, Plaintiff seeks summary judgment on its claim for declaratory relief

 arguing that should a constitutional violation be found, its proposed declaratory

 judgment will guide Freeport in formulating a policy that is not violative of

 lienholders’ constitutional rights. Pl. Mem. at 36-37. Toyota only seeks a declaratory

 judgment that the policy is unconstitutional under the Fourth and Fourteenth

 Amendments and asks the Court to refrain from re-writing the Scofflaw policy so that

 Freeport decisionmakers can draft a constitutional one. Id. The Village counters

 that should a constitutional violation be found, the Court is within its discretion to

 fashion declaratory relief compliant with the Krimstock series of cases as was done

 Santander v. City of Glen Cove, a similar case in this district. 2 Def. Mem. at 22-27.

        The Declaratory Judgment Act states that:

        In a case of actual controversy within its jurisdiction, . . . any court of
        the United States, upon the filing of an appropriate pleading, may
        declare the rights and other legal relations of any interested party
        seeking such declaration, whether or not further relief is or could be
        sought. Any such declaration shall have the force and effect of a final
        judgment or decree and shall be reviewable as such.

 28 U.S.C. § 2201(a). “[A] court may properly render declaratory judgment (1) when

 the judgment will serve a useful purpose in clarifying and settling the legal relations

 in issue, and (2) when it will terminate and afford relief from the uncertainty,

 insecurity, and controversy giving rise to the proceeding.”            Dow Jones & Co. v.

 Harrods, Ltd., 237 F. Supp. 2d 394, 432 (S.D.N.Y. 2002), aff’d, 346 F.3d 357 (2d Cir.

 2003). The declaratory judgment remedy permits parties “to settle legal rights and


 2 This case, Santander Consumer USA, Inc. v. The City of Glen Cove et al., 20-CV-03318 (E.D.N.Y.

 2020), was before District Judge Joan M. Azrack and Magistrate Judge James M. Wicks and settled
 before dispositive motions were filed in the case.

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 remove uncertainty and insecurity from legal relationships without awaiting a

 violation of the rights or a disturbance of the relationships.” Garanti Finansal

 Kiralama A.S. v. Aqua Marine & Trading Inc., 697 F.3d 59, 66 (2d Cir. 2012)

       In granting declaratory relief, “the cost of additional procedures and the details

 of their implementation are matters peculiarly suited to the experience of the district

 court and the knowledge of the parties.” Krimstock, 306 F.3d at 68-69 (it is up to “the

 district court, in consultation with the parties, to fashion appropriate procedural

 relief consistent with this opinion.”) (citing Fuentes, 407 U.S. at 97 n.33) (“Leeway

 remains to develop a form of hearing that will minimize unnecessary cost and delay

 while preserving the fairness and effectiveness of the hearing. . . .”)); see also HVT,

 2018 WL 3134414, at *11 (declining to recommend a specific form for the notice and

 prompt post-deprivation hearing and ordering the parties to submit joint revised

 regulations or procedures for the Court’s review).

       Applying these standards, the Court concludes that Toyota is entitled to

 declaratory relief, because as explained above, Freeport’s Scofflaw policy, as applied,

 violates the Fourth and Fourteenth Amendments. The Court declines, however, to

 fashion a new policy as the Village suggests. Accordingly, the Court recommends

 entering Toyota’s proposed declaratory judgment that:

       Freeport’s policy and custom of using license plate readers to seize
       vehicles registered to persons it labels a “Scofflaw” for failing to pay a
       certain amount of unpaid traffic and parking tickets violates the Fourth
       Amendment prohibition on unreasonable, warrantless seizures.
       Freeport’s policy and custom of failing to hold a hearing before or after
       such a seizure relating to (a) whether the vehicles were properly seized
       or (b) the conditions Freeport attaches to the release of the seized



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       vehicles violates the Fourteenth Amendment protection against
       deprivations of property without due process of law.

 Pl. Mem. at 36-37. Further, because Toyota expressly asked the Court that it not be

 involved in the process of amending Freeport’s policies, see Pl. Mem. at 37, the Court

 recommends directing Freeport to submit proposed legislation within 60 days should

 this Report and Recommendation be adopted. See Santander Consumer USA, Inc. v.

 Port Auth. of New York & New Jersey, No. 20-CV-1997 (MKB), 2022 WL 3099239, at

 *11 (E.D.N.Y. Aug. 4, 2022) (“Defendant is required to submit proposed revised

 regulations or procedures to the Court for review” as Plaintiff expressed it did not

 want to be involved in rewriting Defendant’s policy).

          E. Plaintiff’s Replevin Claim

       The parties agree that Plaintiff’s claims for replevin is moot as Toyota has

 recovered the Vehicle, so this claim should be dismissed. See Pl. Reply at 11; Def.

 Mem. at 15-20.

          F. Damages

       Finally, Toyota seeks compensatory damages in the amount of $3,601

 stemming from the temporary loss of possession of the Vehicle for: (i) depreciation of

 the value between March 25, 2020 and October 22, 2020 totaling $1,018, and (ii) loss

 of use damages, or the payment stream of $369 per month which Toyota would have

 derived from the Lease Agreement while in the Village’s possession for seven months,

 or $2,583. Pl. Mem. at 31; Pl. Reply at 14-15. Toyota claims that if it could have

 auctioned the Vehicle sooner, it would have used the proceeds to re-invest in a

 performing lease with a similar payment stream. Pl. Mem. at 35-36. Freeport argues


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 that depending upon the most recent verified mileage and date used, the depreciation

 damages range from a gain of $612 using October 7, 2020, to a loss of $212 using

 October 22, 2020, or a loss of $97 using November 11, 2020. Def. Mem. at 9. The

 Village further contends that the alleged loss of an income stream is speculative

 because the Lessees had payment difficulties before the vehicle was impounded, and

 Toyota’s stated policy is to auction repossessed vehicles, not to lease them as used

 cars. Def. Mem. at 9-10. Plaintiff replies that “Toyota would take any number the

 Court deems reasonable given the information the Court has relating to damages,

 which are all positive, non-zero dollar figures” except calculating Freeport’s value

 depreciation as of October 7, 2020. Pl. Reply at 14-15.

       Under New York law, plaintiffs can recover for the “loss of use” of their vehicle

 in the event a vehicle is damaged or destroyed. Quiller, Inc. v. United States, No. 20

 CIV. 2513 (AT), 2022 WL 4225542 (S.D.N.Y. Sep. 13, 2022) (citing Koninklijke

 Luchtvaart Maatschaapij, N.V. v. United Techs. Corp., 610 F.2d 1052, 1055-56 (2d

 Cir. 1979).   The Second Circuit has held, however, that a lienholder’s property

 interest in a seized vehicle is its present value. Ford Motor Credit Co., 503 F.3d at

 191-92 (“[N]ot only is the present value of the claim diminished by the indeterminacy

 of its eventual realization, but Ford Motor Credit’s property interest in the underlying

 asset suffers, as the vehicle depreciates over time.”); see also Santander Consumer

 USA, Inc. v. County of Nassau, No. 20CV4790AMDSIL, 2022 WL 3647281, at *13

 (E.D.N.Y. Aug. 24, 2022) (determining an issue of material fact remains on damages

 as the plaintiff failed to “cite any authority for the proposition that the scheduled



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 payments under a security agreement is a measure of damages arising from a due

 process violation”).

          Under these standards, while the parties agree on the method of calculating

 damages by using the J.D. Power Used Car Guide, their values differ creating an

 issue of material fact. Depreciation of the value of the Vehicle itself between should

 be calculated between March 25, 2020 and October 22, 2020 as Defendant provides

 no support for the contention that the Vehicle “was released” to All County on October

 7, 2022.    Nevertheless, the parties’ values differ despite using the same Guide.

 Further, the car was seized rather than damaged or destroyed, so Plaintiff has not

 sufficiently established that it is entitled to loss of use damages in the amount of the

 lease for the seven months it was in Freeport’s possession arising from the Fourth

 Amendment and Fourteenth Amendment violations. No further authority is provided

 by either party as to whether loss of use damages is appropriate as to these particular

 causes of action. Accordingly, the Court recommends denying summary judgment on

 the issue of damages and allow Toyota 60 days to request an inquest to establish

 damages. See Santander Consumer USA, Inc., 2022 WL 3647281, at *13 (allowing

 the plaintiff to request an inquest on damages when an issue of material fact

 remained); HVT, 2018 WL 1409821, at *15 (denying summary judgment on damages

 and permitting the Plaintiff to move for compensatory damages by separate motion).

    IV.      CONCLUSION

          For the reasons set forth above, the Court respectfully recommends:         (i)

 granting Plaintiff’s Motion as to its first and third causes of action and declaratory



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 relief, but denying it as to compensatory damages; (ii) denying Defendant’s Motion in

 its entirety; (iii) entering Toyota’s proposed declaratory judgment; (iv) ordering

 Freeport to submit proposed legislation within 60 days; and (v) permitting Plaintiff

 to request an inquest on damages within 60 days.

    V.      OBJECTIONS

         A copy of this Report and Recommendation is being served on all parties by

 electronic filing on the date below.            Any objections to this Report and

 Recommendation must be filed with the Clerk of the Court within 14 days of receipt

 of this report. Failure to file objections within the specified time waives the right to

 appeal the District Court’s order. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 6(a); Ferrer

 v. Woliver, No. 05-cv-3696, 2008 WL 4951035, at *2 (2d Cir. Nov. 20, 2008); Beverly

 v. Walker, 118 F.3d 900, 902 (2d Cir. 1997); Savoie v. Merchants Bank, 84 F.3d 52, 60

 (2d Cir. 1996).

 Dated:        Central Islip, New York
               January 24, 2023

                                              /s/ Steven I. Locke
                                              STEVEN I. LOCKE
                                              United States Magistrate Judge




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